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IN THE UNITED sTArEs DrsrRrCT CoURr@.».. f _
FoR THE WESTERN DISTRICT oF TENNESSEE' §§§”2 j __ `

 

WESTERN DIVISION '4(,,
MARCUS WADE, g
Petitioner, §
vs. § NO. 05-1100-T/An
GLEN TURNER, §
moment §

 

ORDER SETTING ASIDE ORDER OF DISMISSAL

 

On April l, 2005, petitioner l\/larcus Wade filed a petition for a Writ of habeas corpus
pursuant to 28 U.S.C. § 2254 and an application to proceed fnformci pauperis The Court entered
an order on April 18, 2005 denying pauper status and ordering petitioner to pay the $5.00 habeas
filing fee Within thirty days. Petitioner paid the filing fee on April 25, 2005. lnadvertently, however,
the fact that the filing fee had been paid Was not recorded on the docket sheet, leading to the
dismissal of the petition on June 8, 2005.

As the petitioner complied in a timely manner With the Court’s order to pay the $5.00 filing
fee, the order of dismissal is hereby SET ASIDE. The Court will conduct a preliminary review of

the petition pursuant to Rule 4 of the Rules Governing § 2254 Cases.

lT lS SO ORDERED. CM
JAM S .TODD
UNI STATES DISTRlCT JUDGE

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DATE

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Notice of Distribution

This notice confirms a copy of` the document docketed as number 9 in
case 1:05-CV-01100 Was distributed by f`aX, mail, or direct printing on
June 21, 2005 to the parties listed.

 

Marcus Wade
292802

P.O. Box 549
Whiteville, TN 38075

Honorable J ames Todd
US DISTRICT COURT

